Case 2:10-cr-00073-EFS   ECF No. 119   filed 03/01/11   PageID.452 Page 1 of 6
Case 2:10-cr-00073-EFS   ECF No. 119   filed 03/01/11   PageID.453 Page 2 of 6
Case 2:10-cr-00073-EFS   ECF No. 119   filed 03/01/11   PageID.454 Page 3 of 6
Case 2:10-cr-00073-EFS   ECF No. 119   filed 03/01/11   PageID.455 Page 4 of 6
Case 2:10-cr-00073-EFS   ECF No. 119   filed 03/01/11   PageID.456 Page 5 of 6
Case 2:10-cr-00073-EFS   ECF No. 119   filed 03/01/11   PageID.457 Page 6 of 6
